                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

R.K., et al.,                                              )
                                                           )
        Plaintiffs,                                        )
                                                           )
v.                                                         )      No. 3:21-cv-00725
                                                           )
GOVERNOR BILL LEE, in his official                         )      Chief Judge Crenshaw
capacity as GOVERNOR OF TENNESSEE, et al.,                 )      Magistrate Judge Frensley
                                                           )
                                                           )
        Defendants.                                        )


                             JOINT NOTICE OF MEDIATION


        By their signature below, all parties give notice to the Court that they have agreed to

mediate this matter before M. Reid Estes Jr. on November 30, 2023. This notice is intended to

fulfill the Court’s Order requiring the Parties to mediate the fee dispute and to give notice

identifying a mediator and date of mediation. (ECF 142).

        Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 9, 2023, a copy of the foregoing document was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system to
the parties and their counsel listed below. Parties may access this filing through the Court’s electronic
filing system.

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